          Case 1:23-cr-00343-ACR Document 32 Filed 01/28/24 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,           )
                                    )                Criminal Number: 1:23-cr-343
            v.                      )
                                    )
CHARLES EDWARD LITTLEJOHN, )
                                    )
            Defendant.              )
___________________________________ )

                GOVERNMENT’S NOTICE CONCERNING SENTENCING

       The United States respectfully submits this notice addressing the following question posed

by the Court: “is it per se unreasonable to impose a sentence of a maximum term, outside the

guidelines, to a defendant that pled guilty, cooperated with the Government, and accepts

responsibility?” For the reasons that follow, it is not per se unreasonable to impose a statutory

maximum sentence under the circumstances outlined by the Court.

       As an initial matter, Defendant Charles Littlejohn did not “cooperate[] with the

government” within the meaning of U.S. Sentencing Guideline § 5K1.1 (authorizing a downward

departure where the “defendant has provided substantial assistance in the investigation or

prosecution of another person who has committed an offense”). The government has not moved

for a downward departure on that basis, nor has Defendant requested one. The extent of

Defendant’s “cooperation” amounts to his sitting with government investigators for two proffer

sessions over the course of a few hours. During those sessions, Defendant discussed his own crimes

and took sole responsibility for them. 1




1
  Defendant’s statement in his sentencing memorandum that he “cooperated,” ECF No. 25 at 1,
31, 33, is accurate only insofar as Defendant accepted responsibility for his criminal activity and
assisted the government in collecting certain additional evidence of that criminal activity.
         Case 1:23-cr-00343-ACR Document 32 Filed 01/28/24 Page 2 of 5




       Even under circumstances where defendants cooperate with the government, courts have

imposed statutory maximum sentences that have been affirmed on appeal. For example, in United

States v. Santa Ana-Valdespino, 252 F.3d 1356 (5th Cir. 2001), the district court sentenced the

defendant above the applicable guidelines to the statutory maximum for illegally reentering the

United States, notwithstanding his acceptance of responsibility, his “cooperation with the

government,” and the “mitigating circumstances of his childhood and personal history.” Id.

Because the district court had in fact “consider[ed] mitigating circumstances surrounding the

case,” the Fifth Circuit affirmed the maximum sentence. See id. Other federal circuit courts have

reached substantially similar conclusions. See United States v. McGinty, 577 F. App’x 100, 101

(3d Cir. 2014) (upholding statutory maximum sentence for defendant who made a false statement

to a federal firearms licensee notwithstanding his cooperation); United States v. Briggs, 455 F.

App’x 130, 131 (2d Cir. 2012) (“The record indicates that although the district court imposed the

statutory maximum sentence, it did consider [the defendant’s] cooperation with state

prosecutors.”); United States v. Carswell, No. 21-11708, 2022 WL 1587016, at *2 (11th Cir. May

19, 2022) (unpublished) (affirming statutory maximum sentence of 20 years in drug conspiracy

case notwithstanding the government’s motion for a downward departure pursuant to U.S.

Sentencing Guideline § 5K1.1); United States v. Sanchez-Arriaga, 588 F. App’x 355, 356 (5th Cir.

2014) (affirming statutory maximum sentence in firearm case over objection that sentencing court

was unreasonable for failing to consider the defendant’s cooperation and acceptance of

responsibility); cf. United States v. Bostic, 645 F. App’x 947, 948 (11th Cir. 2016) (“That Bostic

was sentenced to the statutory maximum sentence for his offense does not render his sentence per

se unreasonable.”); United States v. Hargrove, 701 F.3d 156, 164 n.6 (4th Cir. 2012) (holding that

“a sentence is not per se unreasonable simply because the district court imposes a sentence at the


                                                2
          Case 1:23-cr-00343-ACR Document 32 Filed 01/28/24 Page 3 of 5




statutory maximum on a defendant who has accepted responsibility,” in a case where the sentence

exceeded the applicable guideline range); United States v. LePage, 477 F.3d 485, 492 (7th Cir.

2007) (“We are not prepared to establish a new rule that a sentence is per se unreasonable

whenever a defendant is sentenced at the statutory maximum after cooperating and accepting

responsibility.”).

        The three cases cited by the Court, too, support the proposition that a statutory maximum

sentence is not per se unreasonable for a defendant who pleads guilty. In LePage, 477 F.3d at 491,

the defendant contended that a statutory maximum sentence of ten years for a firearm offense was

unreasonable because he was “deprived the benefit of having cooperated.” Id. The court disagreed,

highlighting that the defendant had received a benefit already “based on the manner in which he

was charged.” Id. The court in United States v. Ortiz Alvarez, 821 F. App’x 305, 309 (5th Cir.

2020), reached a similar conclusion, upholding a statutory maximum sentence of 480 months in a

drug conspiracy case in part because the defendant would have had a “life sentence guideline

range” had the government “charged the defendant with his true offense conduct.” Finally, in

United States v. Helton, 370 F. App’x 709, 712 (7th Cir. 2010), the court affirmed a statutory

maximum sentence notwithstanding the defendant’s acceptance of responsibility and guilty plea,

even where the guidelines were substantially lower than the statutory maximum.

        At bottom, so long as the Court appropriately considers the U.S. Sentencing Guidelines

and the factors under 18 U.S.C. § 3553, a statutory maximum sentence can be reasonable. See,

e.g., United States v. Miller, 35 F.4th 807, 810, 818-19 (D.C. Cir. 2022) (upholding upward

variance to statutory maximum life sentence based on district court’s careful and appropriate

consideration of sentencing factors); United States v. Lee, 122 F.3d 1058 (2d Cir. 1995) (“Indeed,




                                                3
          Case 1:23-cr-00343-ACR Document 32 Filed 01/28/24 Page 4 of 5




if accompanied by appropriate explanations, an immediate move to the statutory maximum may

be justified.”).

        For the foregoing reasons, the United States submits that it is not per se unreasonable to

impose a statutory maximum sentence on an individual who, like Defendant, pled guilty and

accepted responsibility for his conduct.

                                                     Respectfully submitted,

Dated: January 28, 2024                              COREY R. AMUNDSON
                                                     Chief, Public Integrity Section
                                                     Criminal Division
                                                     U.S. Department of Justice



                                                     BY:
                                                     /s/ Jonathan E. Jacobson
                                                     JENNIFER A. CLARKE
                                                     Deputy Chief
                                                     JONATHAN E. JACOBSON
                                                     Trial Attorney
                                                     Public Integrity Section
                                                     United States Department of Justice
                                                     1301 New York Avenue, NW
                                                     Washington, DC 20530
                                                     Telephone: (202) 514-1412




                                                4
          Case 1:23-cr-00343-ACR Document 32 Filed 01/28/24 Page 5 of 5



                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of January 2024, I caused the foregoing to be

electronically filed with the Clerk of the Court using the CM/ECF System, which will then send a

notification of such filing to all attorneys of record.



                                                       /s/ Jonathan E. Jacobson
                                                       Jonathan E. Jacobson
                                                       Trial Attorney, Public Integrity Section
                                                       U.S. Department of Justice
                                                       1301 New York Ave. NW, 10th Fl.
                                                       Washington, DC 20530
                                                       Tel: 202-514-1412
                                                       Email: Jonathan.Jacobson@usdoj.gov




                                                   5
